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AO 106A (08/18) Application for a Warrant by Telephone or Othet Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Delaware

              In the Matter of the Search of
          (Briefly describe the property to be searched
           or identify the person by name and address)

 INFORMATION ASSOCIATED WITH FACEBOOK
                                                                                            Case No. 20 -   i+; M
 USER ID 100054661972683 THAT IS STORED AT
  PREMISES CONTROLLED BY FACEBOOK INC.
    APPLICATION FOR AWARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal Jaw enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give Its location):
  SEE ATTACHMENT A


located in the ___N_o_rt_h_e_m_ __ District of _ _ _ _C
                                                      _a_l_ifo_m
                                                               _ ia_ _ _ _ , there is now concealed (identify the
person or describe the property lo be seized):
 SEE ATTACHMENT B

                                                                                                                                FILED
          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               fl evidence of a crime;
               O contraband, fruits of crime, or other items illegally possessed;                   OCT 2 2 2020
               0 property designed for use, intended for use, or used in committing a crime;
               0 a person to be arrested or a person who is unlawfully restrained.      U.S. DISTR!CT C0' IRT n1c:ri:;1r7 r, nn ~'Pt, O.E
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 1201(c)                       Kidnapping




         The application is based on these facts:
        See attached Affidavit

           mContinued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date ifmore than 30 days: _ _ _ _ _ ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attache sheet.



                                                                                               Kristopher M. Long, Special Agent
                                                                                                       Printed name and title

Attested t~       the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by



                                                                 =-
            ~~IIML                                                  (specify reliable electronic means).
                                    G'iii~..._~9-~ A"'
Date:            10/22/2020              ..a.:k...!}
                                                  ,_,_,, .J
                                                                                               ~Q4~        Judge 'ss~
                                                       /01~>.,,__ _,
City and state: Wilmington, Delaware                                                   Chief, U.S. Magistrate Judge Mary P. Thynge
                                                                                                       Primed name and title
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 FACEBOOK USER ID 100054661972683
                                                 CaseNoiu ✓ 21)M
 THAT IS STORED AT PREMISES
 CONTROLLED BY FACEBOOK INC.



                   AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Kristopher M. Long, being first duly sworn, hereby depose and state as follows :

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with Facebook User ID 100054661972683 (the "TARGET ACCOUNT"),

that is stored at premises owned, maintained, controlled, or operated by Facebook Inc.

("Facebook"), a social networking company headquartered in Menlo Park, California.           The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)( 1)(A) and 2703(c)( 1)(A) to require Facebook to disclose to the government records and

other information in its possession, pertaining to the subscriber or customer associated with the

TARGET ACCOUNT.

       2.     I am a Special Agent with the Federal Bureau of Investigation ("FBI"), and have

been since on or about March 6, 2016. I attended New Agent training at the FBI Academy in

Quantico, Virginia. I am currently assigned to the Baltimore Field Office, Wilmington Resident

Agency. I received extensive training and experience in the investigations of international and

domestic terrorism violations and, among other things, have conducted or participated in

surveillances, debriefings of informants, review of taped conversations and records, and the
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execution of search and tracking warrants. From these experiences, and from training relating to

counterterrorism matters, I am familiar with the ways in which persons finance and plan a terrorist

operation, to include but not limited to, the efforts persons involved in such activity take to disguise

operations and avoid detection by law enforcement. In addition, I have been a Special Agent Bomb

Technician for the FBI for approximately five years. During this time, I have attended multiple

training courses     related   to   the production      and   deployment aspects       of homemade

explosives/devices. Furthermore, I have assisted in multiple investigations related to Improvised

Explosive Devices ("IEDs") and Improvised Incendiary Devices.

         3.     This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                          FACTS SUPPORTING PROBABLE CAUSE

    I.        CONSPIRACY TO KIDNAP THE GOVERNOR OF MICHIGAN

         4.     The United States, including the FBI, is investigating a conspiracy to kidnap the

Governor of Michigan. Title 18, United States Code, Section 1201(c) makes it a felony to

conspire to kidnap or abduct any person and hold that person for ransom, reward, or otherwise,

where the kidnapper or the victim crosses a state boundary, or a means of interstate commerce

(such as a cellular telephone or the internet) is used in committing, or in furtherance of, the

offense.

         5.     The subjects of this investigation include Barry Gordon CROFT, Jr., Adam FOX,

Ty GARBIN, Kaleb FRANKS, Daniel HARRIS, and Brandon CASERTA (collectively, the

"CONSPIRATORS"). The CONSPIRATORS were charged via Criminal Complaint in the

Western District of Michigan on October 6, 2020 with one count of conspiracy to commit

kidnapping, in violation of 18 U .S.C. § 1201 ( c) ( 1:20-mj-416). The investigation is ongoing.

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        6.    In the course of its investigation, the FBI relied on information provided by

Confidential Human Sources ("CHS") and Undercover Employees ("UCE") over several

months. Not all CHSs and UCEs were present at all times, however, at least one CHS or UCE

was usually present during the group meetings. Those CHSs and UCEs consensually recorded

the meetings and conversations with the subjects. Some meetings or conversations were recorded

by more than one CHS or UCE. Certain CHSs also had access to group or individual texts,

online chats, and phone calls. Each CHS was vetted for reliability by the FBI agent handling the

source. None of the CHSs were aware of the other CHSs involved with the groups in order to

preserve the independence of their reporting. Although multiple CHSs were used over the course

of the investigation, this affidavit only relies on audio recordings and information provided by

CHS-1, CHS-2, UCE-1 and UCE-2.

   A. Group Meeting in Ohio to Discuss the Operation

        1.     On June 6, 2020, CROFT, FOX and approximately 13 other people from several

states gathered in Dublin, Ohio. 1 CHS-1 was present at this meeting.2 The group talked about

creating a society that followed the U.S. Bill of Rights and where they could be self-

sufficient. They discussed different ways of achieving this goal from peaceful endeavors to

violent actions. At one point, several members talked about state governments they believed




1 During
      this meeting and subsequent meetings, CHS reports and recordings indicate that the
CONSPIRATORS, including CROFT, consumed marijuana.

2 The FBI has paid CHS-I approximately $8,600 to date for expenses. CHS-1 does not have a
criminal history and has been deemed reliable by the FBI. lnfonnation given by CHS-1 has been
shown to be reliable and corroborated through review of recordings and physical surveillance.
That meeting was recorded and provided to the FBI.

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were violating the U.S. Constitution, including the government of Michigan and Governor

Gretchen Whitmer. Several members talked about murdering "tyrants" or "taking" a sitting

governor. The group decided they needed to increase their numbers and encouraged each other to

talk to their neighbors and spread their message. As part of that recruitment effort, FOX reached

out to a Michigan based militia group (the "militia group").

       2.      The militia group had already been brought to the attention of the FBI by a local

police department in March 2020, when members of the militia group were attempting to obtain

the addresses of local law-enforcement officers. At the time, the FBI interviewed a member of

the militia group who was concerned about the group's plans to target and kill police officers,

and that person agreed to become a CHS.

    B. Attempted Recruitment of the Militia Group and Others

       3.      As reported by CHS-23 and confirmed by the FBI, the militia group periodically

meets for field training exercises ("FTX")4 on private property in remote areas of Michigan,

where they engage in firearms training and tactical drills. CHS-2 told the FBI that, at a FTX on

June 14, 2020, one of the founders of the militia group said he had been introduced to FOX.

During that exercise, the militia group leadership had a call with FOX, who invited them to meet

at his business in Grand Rapids, Michigan, later in the week.



3 The FBI has paid CHS-2 approximately $14,800 to date, for reporting and expenses. CHS-2
does not have a criminal history and has been deemed reliable by the FBI. Information given by
CHS-2 has been shown to be reliable and corroborated through review of recordings and
physical surveillance. CHS-2 also consensually recorded certain meetings and provided those
recordings to the FBI.
4The individuals identified in this affidavit often refer to a "field training exercise" as an "FTX"
and, as such, the same is done in this affidavit.

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       4.     FOX, in coordination with CROFT, met with members of the militia group at

various times in June 2020. During one such meeting on June 18, 2020, which was audio

recorded by CHS-2, FOX, militia group leadership, including Michigan resident GARBIN, and

CHS-2 met at a Second Amendment rally at the State Capitol in Lansing, Michigan. In an effort

to recruit more members for the operation, FOX told GARBIN and CHS-2 he planned to attack

the Capitol and asked them to combine forces.

   C. The Operation Focuses on Governor Whitmer

       5.     As previously discussed, the FBI was able to monitor much of the activity

between FOX and others through the use of CHSs. On June 14, 2020, CHS-2 participated in a

consensually recorded telephone call with FOX, who described the meeting in Dublin, Ohio.

FOX said he needed " 200 men" to storm the Capitol building in Lansing, Michigan, and take

hostages, including the Governor. FOX explained they would try the Governor of Michigan for

"treason," and he said they would execute the plan before the November 2020 elections.

       6.      On June 20, 2020, FOX, GARBIN, and several other individuals, including CHS-

2, met at FOX's business in Grand Rapids. As part of FOX's operational security, the attendees

met in the basement of the shop, which was accessed through a trap door hidden under a rug on

the main floor. FOX collected all of their cellular phones in a box and carried them upstairs to

prevent any monitoring. CHS-2 was wearing a recording device, however, and captured the

audio from the meeting. The attendees discussed plans for assaulting the Michigan State Capitol,

countering law enforcement first responders, and using " Molotov cocktails" to destroy police

vehicles. The attendees also discussed plans for an additional meeting during the first weekend

of July when they also would conduct firearms and tactical training.



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           7.     On June 25, 2020, FOX live-streamed a video to a private Facebook group that

    included CHS-2, in which he complained about the judicial system and the State of Michigan

controlling the opening of gyms. FOX referred to Governor Whitmer as "this tyrant bitch," and

stated, " I don't know, boys, we gotta do something. You guys link with me on our other location

system, give me some ideas of what we can do." The video was preserved by the FBI.

       D. Training and Planning to Kidnap the Michigan Governor

          8.     On June 28, 2020, FOX, FOX' s girlfriend, GARBIN, Michigan resident

FRANKS, Michigan resident CASERTA, and CHS-2 attended a tactical training exercise at the

Muni th, Michigan, residence of a militia-group member. After the training, FRANKS left the

residence. Other people, including FOX, GARBIN, CASERTA, and CHS-2 remained at the

residence and were told to leave if they were not willing to participate in attacks against the

government and in kidnapping politicians. FOX, GARBIN, CASERTA, and CHS-2 stayed for

the rest of the meeting. FRANKS left before the end of the night, though his departure does not

appear to be related to FRANKS' commitment to the conspiracy. 5

          9.     Over the weekend of July 10-12, 2020, FOX, CROFT, GARBIN, FRANKS,

CASERTA, CHS-2, and others attended a FTX in Cambria, Wisconsin. Based on E911 data

from CROFT's cell phone and CHS reporting, I am aware that during this meeting CROFT

stayed nearby in Portage, Wisconsin. Attendees participated in firearms training and other




5
 On July 7, 2020, FRANKS attended a meeting at the residence of another militia group
member, and CHS-2 was in attendance. FRANKS said that he was "not cool with offensive
kidnapping" and added that he was "just there for training," or words to that effect. After the
meeting, however, FRANKS actively continued to participate in the kidnapping plot, as further
described below.

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 combat drills. On July 11, at the exercise, CROFT and a member of the militia group attempted

 to construct an IED, using black powder, balloons, a fuse, and BBs for shrapnel. CROFT,

 GARBIN and the militia group member attempted to make a second IED using similar

 components. The construction of the devices was faulty, and they did not detonate as planned.

CHS-2 provided FBI with video of the event. FRANKS also brought and fired a rifle with a

silencer at the exercise. Attendees shared photos and video recordings of the exercise in

Facebook discussions that included CHS-2.

        10.    On July 18, 2020, GARBIN, FOX, CROFT, HARRIS, FRANKS, CHS-2, and

other individuals met in Ohio. CHS-2 provided the FBI with an audio recording of the meeting.

The attendees discussed attacking a Michigan State Police facility, and in a separate conversation

after the meeting, GARBIN suggested shooting up the Governor's vacation home, which is

located in the Western District of Michigan ("the vacation home.") The same day, GARBIN told

CHS-2 and others that he did not want to go after the Capitol. He said he was "cool" with going

after the Governor's vacation home, however, even if it only resulted in destruction of property.

        11.    On July 27, 2020, CHS-2 met FOX at his business in Grand Rapids. CHS-2

provided the FBI with an audio recording of the meeting. FOX said their best opportunity to

abduct Governor Whitmer would be when she was arriving at, or leaving, either her personal

vacation home or the Governor's official summer residence. Both residences are located in the

Western District of Michigan. FOX described it as a "Snatch and grab, man. Grab the fuckin'

Governor. Just grab the bitch. Because at that point, we do that, dude -- it's over." FOX said that

after kidnapping the Governor, the group would remove her to a secure location in Wisconsin for

"trial." FOX suggested they get a realtor to help them find the exact location of the vacation

home and collect information on the surrounding homes and structures. FOX discussed the

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 importance of knowing the layout of the yard, homes, and security. FOX stated they needed to

 map out the surrounding property and gates, and they needed plumbers and electricians to help

them read blueprints to refine their strategy. FOX also suggested recruiting an engineer or "IT

 [Information Technology] guy," a " demo guy," and other "operators."

        12.     On July 27, 2020, FOX asked in an encrypted group chat, which included

GARBIN, HARRIS, FRANKS and CHS-2, "OK, well how's everyone feel about kidnapping?"

No one responded to the question.

        13.     On July 28, 2020, FOX told CHS-2 over the phone that he had narrowed down his

attack targets to the vacation home and the summer residence. The call was not recorded. The

same day, FOX posted the following to a private Facebook page: "We about to be busy ladies

and gentlemen ... This is where the Patriot shows up. Sacrifices his time, money, blood sweat

and tears ... it starts now so get fucking prepared!!"

        14.    On August 9, 2020, FOX, GARBIN, HARRIS, FRANKS, and CHS-2

participated in a tactical training in Munith, Michigan. CHS-2 provided the FBI with an audio

recording of the training. FOX asked the group about kidnapping Governor Whitmer. According

to CHS-2, GARBIN initially expressed reluctance to talk about the plan in that setting. After the

training, FOX, CHS-2, and others participated in a group call that was recorded by CHS-2. FOX

suggested another member of the militia group could gather information about Governor

Whitmer's primary residence in Lansing, and FOX discussed destroying the Governor's boat.

After the call, FOX, FRANKS, GARBIN, HARRIS, and CHS-2 communicated in an encrypted

group chat. In that chat, HARRIS stated, "Have one person go to her house. Knock on the door

and when she answers it just cap her . . . at this point. Fuck it." He added, "I mean ... fuck, catch

her walking into the building and act like a passers-by and fixing dome her then yourself

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whoever does it." (sic). In a follow-up chat about the plan, FRANKS told CHS-2, "OK sounds

good I'm in for anything as long as its well planned."

        15.    On August 18, 2020, in an encrypted group chat that included FOX, HARRIS,

GARBIN, FRANKS, CHS-2, and others, FRANKS expressed interest in taking part in a

surveillance of the vacation home. In an effort to locate the Governor's vacation home, one of

the members named specific cities where it could be located and told the group to check these

cities. In a private chat later on August 18, 2020, the same person told CHS-2 the name of the

lake in northern Michigan where the vacation home is located, and he said he was looking for an

escape route using a boat on the lake.

   E. The Group Uses Operational Security Measures to Avoid Detection

       16.     The CONSPIRATORS often communicate via encrypted online platforms and

use "code words" or phrases to describe their plans in a self-proclaimed effort to avoid law-

enforcement detection. For example, on July 24, 2020, CHS-2 and GARBIN contacted FOX by

telephone. The call was recorded by CHS-2. FOX said he had researched the Governor's office

online, and he believed that the Governor kept only a ceremonial office in Lansing. FOX

wondered aloud whether the group just needed to "party it out, make a cake and send it," in what

CHS-2 believed was a coded reference to sending a bomb to the Governor. FOX discussed the

need to train for the next three months to be ready to engage. FOX stated, "In all honesty right

now . .. I just wanna make the world glow, dude. I'm not even fuckin' kidding. I just wanna

make it all glow dude. I don' t fuckin' care anymore, I' m just so sick of it. That's what it's gonna

take for us to take it back, we're just gonna have to everything' s gonna have to be annihilated

man. We' re gonna topple it all, dude. It's what great frickin' conquerors, man, we' re just gonna



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 conquer every fuckin ' thing man." FOX and GARBIN further discussed the need for the

 government to collapse because it has become so tyrannical.

        17.     On July 26, 2020, FOX told CHS-2 that he had not heard back from the "baker,"

 which the CHS understood to mean an explosives manufacturer. FOX told the CHS that he

 thought it might be better to focus on the vacation home and summer residence as potential

 targets. FOX also said, "Maybe we should just make a bunch of cupcakes and send them out," in

an apparent reference to a more widespread bombing campaign. CHS-2 understood these code

words and phrases because the group often used such language when talking about explosives.

        18.    On August 23, 2020, GARBIN, HARRIS, FRANKS, CASERTA, CHS-2, and

three other individuals met at HARRIS's residence in Lake Orion, Michigan. CHS-2 provided

FBI with an audio recording of the meeting. The group had discussed concerns about being

infiltrated by law enforcement, and all attendees were required to bring personal documents to

confirm their identities. During the meeting, CASERTA asked FRANKS, "Franks, where you

at?" FRANKS responded, "Same place. I'm ready to get it on. Doesn' t matter. It could be 'cause

somebody looked at us wrong." CHS-2, referring to FOX, stated, "He is all about fuckin ' killin'

her." CASERTA responded, "God. Go on someone's property and stuff like that. I would rather

not scare them. Especially if it's a fuckin' political parasite. The world would be better without

that person, I'll say that." CHS-2 explained that was why FOX wanted to do "recon" for the plan.

The group discussed surveilling the vacation home in preparation for attacks on the Governor,

and FRANKS advised he had recently spent almost $4,000 on a helmet and night-vision goggles.

To address their concerns about law-enforcement infiltration, the attendees agreed to move their

group chat to a different encrypted messaging application. Because the group still included CHS-

2, the FBI has maintained the ability to consensually monitor the chat communications.

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    F. The CONSPIRATORS Conduct Surveillance of the Governor's Home on Two
       Occasions

                             Daytime Surveillance on August 29. 2020

        19.    On August 29, 2020, FOX, CHS-2, and another individual conducted surveillance

 of the vacation home. CHS-2 provided FBI with an audio recording of the operation. FOX used

his cell phone to attempt to locate the residence, but initially they had trouble finding it. He

contacted a friend who had assisted them in the past; the friend told him where the vacation

home was located and sent pictures of the home from the internet. FOX and the other individual

located the vacation home, took photographs and slow-motion video from their vehicle as they

drove by it, and discussed conducting additional surveillance from the water at a later date. The

other individual then looked up the locations of the local police department and Michigan State

Police in the area, and used them to estimate how long it would take law enforcement to respond

to an incident at the vacation home. During the surveillance operation, FOX said, "We ain't

gonna let 'em burn our fuckin' state down. I don't give a fuck if there's only 20 or 30 ofus,

dude, we' ll go out there and use deadly force."

       20.     On August 30, 2020, FOX shared photos from his surveillance trip to the

encrypted chat group, which included FRANKS, HARRIS, GARBIN and CHS-2. GARBIN

offered to paint his personal boat black to support the surveillance of the vacation home from the

lake where the vacation home is situated. In a text message conversation the same day, GARBIN

asked CHS-2 how the surveillance trip had gone. CHS-2 shared a screenshot of a map of the

area, which happened to show a bridge in the vicinity. Using symbols and emoticons, GARBIN

replied "If the~ go Q, it also X the ~ ," suggesting demolition of the bridge would hinder a

police response. CHS-2 provided the FBI with an image of a hand-drawn map of the lake near


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 the vacation home with the mileage of the nearest police departments and the estimated response

 time. CHS-2 provided FBI with a picture of FOX drawing that map.

                        Nighttime Surveillance on September 12-13, 2020

        21.     Over the weekend of September 12-13, 2020, FOX, CROFT, GARBIN,

FRANKS, HARRIS, CASERTA, CHS-2, a UCE, and another individual attended a FTX at

GARBIN's property in Luther, Michigan. Based on E911 data from CROFT' s cell phone and

CHS reporting, I am aware that during this meeting CROFT stayed nearby in Big Rapids,

Michigan. The location of the meeting is approximately an hour and a half from the vacation

home. CHS-2 and the UCE audio recorded the meetings and exercise. CROFT brought what he

referred to as his "chemistry set," which included components for an IED. According to CHS-2,

CROFT constructed an JED by removing the cap from a commercial firework, adding additional

black powder, and wrapping the device in pennies and electrical tape as shrapnel. During the

exercise, the group set the device in a clearing surrounded by human silhouette targets, and

CROFT detonated it to test its anti-personnel effectiveness.

       22.     At the exercise, FOX took aside CROFT, GARBIN, FRANKS, CASERTA, CHS-

2, two UCEs, and four other people. FOX briefed them on the plan to kidnap Governor Whitmer,

and he told them about his first surveillance of the property. FOX selected CROFT, GARBIN,

FRANKS, the CHS, the UCEs, and the four other people, to conduct a nighttime surveillance of

the vacation home in preparation for the kidnapping. HARRIS, CASERTA, and another

individual remained at the camp in Luther. HARRIS became aware of the surveillance the next

day, and he expressed regret that he had not participated in the surveillance operation.

       23 .    On September 12, 2020, while driving from GARBIN's property to Cadillac to

bring others to the property, FOX told CHS-2 and another individual that the vacation home is

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the Governor's actual house, '·And it' s a perfect fuckin' setup. Out of everywhere that she

resides, this is the only one that's probably actually feasi ble with a success rate." That

conversation was recorded by CHS-2.

       24.     During the late night of September 12 and early morning of September 13, the

group drove from Luther to the vicinity of the vacation home in three separate vehicles. CHS-2

and the UCEs audio recorded the operation. Before leaving Luther, CROFT asked FOX if the

surveillance participants were armed. FOX confirmed that they were, and CROFT suggested

they take the opportunity to conduct an act of violence that night. CROFT was eventually

dissuaded of this notion and decided to wait for a better time.

       25.     FOX, CROFT, CHS-2, a UCE, and an individual from Wisconsin traveled in the

first vehicle. While in the vehicle, CROFT and FOX discussed detonating explosive devices to

divert police from the area of the vacation home. They stopped at the M-31 highway bridge on

the way, where FOX and the UCE inspected the underside of the bridge for places to seat an

explosive charge. FOX took a picture of the bridge's support structure, which he later shared

with CHS-2 in their encrypted chat. From there, they drove to a public boat launch across the

lake from the vacation home to watch for the other cars in their group.

       26.     GARBIN, FRANKS, and another individual from Wisconsin traveled in the

second vehicle to the vicinity of the vacation home. A digital dash camera was mounted in the

vehicle and was activated to record the surveillance for later reference. This footage was later

shared with CHS-2, who provided it to the FBI. External-facing video footage from the camera

shows what the CONSPIRATORS observed of the Governor' s neighborhood, while the internal-

facing footage captured GARBIN, FRANKS, and the other member inside the vehicle on the

way to the vacation home. A review of the dash camera footage revealed global positioning

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system ("GPS") data indicating that the vehicle was located in close proximity to the vacation

home next to the lake. When the second vehicle arrived, the team contacted FOX, who was

located in the first vehicle, to determine if they could see each other's lights across the lake.

GARBIN asked the first vehicle, "Can you see my light?" CROFT asked the second vehicle,

"You got our guys?" CHS-2 replied, " We got you. "

         27.   Two of the other individuals and a UCE drove to the lake in the third vehicle.

They were tasked by FOX to drive around and make sure no one was following or surveilling the

group.

         28.     During the surveillance operation, FOX stated, "She fucking goddamn loves the

power she has right now" and that "she has no checks and balances at all. She has uncontrolled

power right now." CROFT stated, "All good things must come to an end." FOX also remarked "I

can see several states takin' their fuckin ' tyrants. Everybody takes their tyrants." The group also

discussed how many people should be involved in the kidnapping operation.

         29.   During the ride back to GARBIN' s property, FRANKS stated " We're doin' all

the reconnaissance work, so it should go smooth." After arriving back at GARBIN's property,

CHS-2 asked, "Everybody down with what's going on?" and someone stated, " If you're not

down with the thought of kidnapping, don't sit here." GARBIN replied, "Oh no, we're not

kidnapping, that's not what we're doing," which sparked general laughter. Amidst the laughter,

another voice said, "No children!" and a voice added, " We're adult napping." FRANKS stated,

" Kidnapping, arson, death. I don't care." The group then started discussing destroying the

vacation home.




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    G. The CONSPIRATORS Begin Finalizing Plans to Kidnap Governor Whitmer

       30.      On the morning of September 13, 2020, the group reconvened at GARBIN 's

property in Luther, Michigan. FOX gathered CROFT, GARBIN, FRANKS, HARRIS,

CASERTA, CHS-2, the UCEs and two other individuals. CHS-2 recorded the discussion. FOX

confirmed with the members that they were the group that was going to kidnap Governor

Whitmer. A UCE told FOX that it will cost approximately $4,000 to procure the explosives that

FOX and CROFT want to use to blow up the bridge leading to the vacation home. FOX later

shared that information with the group. The group agreed to conduct a final training exercise in

late October.

       3 1.     On September 14, 2020, FOX posted in the group's encrypted chat that he did not

want the exercise to be the last week in October because it would leave insufficient time to

execute the kidnapping before the national election on November 3, 2020. The group agreed to

use the time until the final training exerc ise to raise money for explosives and other supplies.

       32.      On September 17, 2020, on an encrypted group chat that included FOX,

GARBIN, FRANKS, HARRIS, CASERTA, CHS-2, and others, FOX asked the group what it

thought of a militia group invitation to participate in an armed protest at the State Capitol.

GARBIN replied, "I would highly advise minimizing any communication with him. Also there

needs to be zero and i mean zero public interaction if we want to continue with our plans."

CASERTA replied, "When the time comes there will be no need to try and strike fear through

presence. The fear will be manifested through bullets." FOX responded, "Copy that boys, loud

and clear!"

       33.      On September 30, 2020, FOX called CHS-2 on the phone and CHS-2 recorded

the conversation. During the call, FOX discussed purchasing a taser for use in the kidnapping

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operation. FOX also told CHS-2 that CROFT, GARBIN, HARRIS, FRANKS, CASERTA, and

others were aware of the $4,000 cost. On October 2, 2020, FOX confirmed he purchased an

800,000 volt taser in an encrypted chat message with CHS-2.

       34.     FBI' s review of recent encrypted group chats indicates that, in preparation for

their plan to kidnap Governor Whitmer, FOX, GARBIN, HARRIS, and FRANKS plan to meet

with a UCE on October 7, 2020, to make a payment on explosives and exchange tactical gear.

CASERTA said he could not attend because he will be at work. CROFT has returned to

Delaware and is not available for this exchange.

       35.     On several occasions, FOX has expressed his intention and desire to kidnap

Governor Whitmer before November, 3, 2020, the date of the national election.

   H. CROFT is Arrested

       36.     On October 6, 2020, the Honorable Sally J. Berens, United States Magistrate

Judge for the Western District of Michigan, signed a Criminal Complaint charging the

CONSPIRATORS with conspiracy to commit kidnapping in violation of 18 U.S.C. § 120I(c)

( I :20-mj-416). An arrest warrant for CROFT was issued on that same date.

       37.     CROFT is long haul truck driver employed by Chris Cross, LLC, a Delaware-

based company. On October 6, 2020, CROFT picked up the truck he drives for Chris Cross,

LLC, in Delaware and drove overnight. He stopped in North Haven Connecticut at

approximately 5 :00 a.m. on October 7, 2020 and spent most of the day resting at this location. In

the late afternoon CROFT began driving his truck route, generally travelling south.

       38.     Late on the evening of October 7, 2020, CROFT stopped at a convenience store in

southern New Jersey. After exiting his truck, he was arrested pursuant to the federal warrant.



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       II.         CROFT USES FACEBOOK TO COORDINATE WITH CONSPIRATORS
                   AND DISCUSS THREATS TO GOVERNMENT OFFICIALS

             39.     Throughout the course of this investigation, CROFT has engaged in extensive

    communications with the CONSPIRATORS and other individuals who were militia members,

    including using Facebook. CROFT has utilized multiple Facebook accounts, which were

repeatedly shut down by Facebook for violation of its policies.

             40.     The most recent Facebook account used by CROFT is the TARGET ACCOUNT.

It was opened on or about September 2, 2020 and shut down on or about September 26, 2020,

less than two weeks before CROFT's arrest.

       A. October 2019: Conversations with Kevin MASSEY

             41.    During its investigation, the FBI learned that CROFT attempted to provide

support to Kevin MASSEY, 6 who had been convicted of firearms offenses following his

involvement in a " militia patrol" on the border of Texas and Mexico. 7 MASSE Y's status as a

fugitive became a symbol of government oppression for individuals, like CROFT, who harbored

anti-government and anti-federal law enforcement views.



6
  According to a Washington Post article reporting his apparent suicide, MASSEY "was the self-
described commander of Rusty' s Rangers, an anti-immigrant militia active in 2014 that regularly
posted footage of patrols on Facebook. The militia claimed it had detained migrants at gunpoint
and bound their wrists with zip ties. His border activities and violent anti-government rhetoric
helped him achieve a small cult following among fellow militia members and a few right-wing
bloggers." https://www. washingtonpost.corn/nation/2020/0 l /12/texas-militia-leader-went-into-
hiding-months-later-he-tumed-up-dead/, last accessed May 7, 2020. MASSEY was found dead
by federal law enforcement on December 23, 2019 in an uninhabited wooded area in Texas.
7
 According to various media reports, some militia groups described as right-wing militias have
patrolled the border between Mexico and the United States looking for and detaining
undocumented aliens. See, e.g. https://www.npr.org/2019/04/23/716258054/arrest-fuels-debate-
over-right-wing-groups-who-patrol-southwest-border, last accessed May 7, 2020.

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       42.       CROFT and MASSEY exchanged Facebook messages in October 2019, during

the time when MASSEY had failed to appear for a supervised release hearing and had become a

fugitive. In those messages, CROFT stated "They will have to pay for what they have done" and

"I don't care if we destroy this whole planet in the fight that is coming, but a reckoning is

necessary," which the FBI assessed reflected CROFT's intent to either threaten and/or commit

acts of violence against federal law enforcement agents and the government. CROFT stated in

another series of messages to MASSEY that "the People don' t support what has happened to you

[....] Constitutional thunder and lighting. Our hour draws near brother. [ ... ] I' m going to North

Carolina on Saturday to discuss going to war against the government of North Carolina. [ ... ]

They invited me to speak and share tactics. Please come out bro. We need you." Additionally,

CROFT messaged MASSEY offers to assist him: "I can pull you out." ( ... ] " Let me get you

nourished back to combat ready." [ ... ] "I need to recover you sir."

    B. Facebook Account # 100040706956770

       43.       On or about April 19, 2020, the FBI obtained a federal search warrant authorizing

the search of a Facebook account with Facebook User ID 100040706956770, which belonged to

CROFT. 8 The data provided in response to the search warrant revealed extensive messaging

between CROFT and other individuals regarding potential acts of violence. Examples of these

communications include the following:

             •   On or about February 9, 2020, Facebook User # 1, believed to be located in the
                 United States, told Croft that, "Well the time for change is upon us. I have your



8
  The search warrant is U.S. District of Delaware, Magistrate Case No. 20-77M-SRF, and is
incorporated by reference herein.



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               back And ifthings dont start working here soon. I will put out the call and lead the
               charge my damn self." Croft responded that same day, "I 'll come and my equipment
               is adequate. I can help you make a thermal ghillie." I am aware that a "thermal
               ghillie" is a type of specialized suit worn by snipers.

           •   On or about March 17, 2020, Croft told Facebook User #1, believed to be located
               in the United States, that, " I almost wonder if the men should use my life to draw
               them in ... [w]hen the time is right, I'll be bail."

           •   On or about March 22, 2020, Croft told Facebook User #2, believed to be located
               in the United States, that, "I'm now a freedom.fighter until I'm dead."

           •   On or about March 27, 2020, Croft told Facebook User # 1, believed to be located
               in the United States, that "If ii 's going down, let's get it" and that they "should talk
               without phones."9

           •   On or about April 11, 2020, Croft told Facebook User #2, believed to be located in
               the United States, that, '·Being asked to go to Kentucky and cover a church. It's too
               late for a good tactical plan. I'm recommending recourse against any police agency
               that inte,feres. Fighting will be real soon Gentlemen."

           •   On or about April 12, 2020, Facebook User #2, believed to be located in the United
               States, told Croft that, "It's Easter and yall President. Still has the Country on Lock
               Down. And Mr. Cheeto even declared a 50 state ofemergency. This won't end until
               thet have all there pieces in place laws/bills in place to totally shred the
               Constitution and the Will ofthe people.. It's time to go on the Offensive because we
               aren't built for this nondefence we been doing. .. "

           •   On or about April 14, 2020, Croft told Facebook User #2, believed to be located in
               the United States, that, " ... April 25th ... [t]otal offensive ... il's going live within 3
               weeks tops." 10




9 Based on my training and experience, the reference to "no phones" is an attempt at operational
security (OPSEC), often employed by persons who are trying to conceal their actions or plans from
law enforcement.
10 The FBI surveilled CROFT on April 25, 2020, following the discovery of this message. On that
day, CROFT was working his normal job as a truck driver. FBI did not observe anything unusual
that day.

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       7.      On or about April 30, 2020, in accordance with Facebook's policy prohibiting

certain speech or actions, I learned that Facebook closed CROFT's Facebook User ID

100040706956770 account.

     C. Facebook Account# 100050894377140

       44.     On or about May 8, 2020, the FBI obtained a federal search warrant authorizing

the search of a Facebook Account with Facebook User ID 1000508943 77140, which belonged to

CROFT. 11 Review of this search warrant shows messages between CROFT and other users

plotting potential acts of violence.

       45.     On May 3, 2020, for example, CROFT sent and received the following messages

regarding protesting and committing potential acts of violence in Columbia, South Carolina:

       CROFT:          He may be first 12
       USER:           SC

       CROFT:          Yup
       CROFT:          I'm going
       CROFT:          With sword

       USER:           Don 't be a lone wolfit ain 't worth ii. Hang together.

       USER:           Pack that place
       USER:           Armed right?
       CROFT:          Except the Chris Hill bunch 13


11The search warrant is U.S. District of Delaware, Magistrate Case No. 20-84M-SRF, and is
incorporated by reference herein.
12 Around   this same time, CROFT posted on his publicly-viewable account a picture of the South
Carolina Governor with the following question, "This our guy?" Accordingly, the FBI believes
that the individual referenced in these messages is the Governor of South Carolina.
13The FBI believes that the " Chris Hill bunch" refers to individuals associated with Christopher
Hill, the leader of the Georgia Security Force Three Percent militia.

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          USER:          It's got to be armed
          CROFT:         Armed then audible at scrimmage 14
          USER:          Explain
          USER:          Audible at scrimmage
          CROFT:         Can't at this time

          46.     In yet another exchange on May 4, 2020, CROFT sent the following messages

regarding the Governor of South Carolina:

          CROFT:        She 15 monitors the extent oftheir treachery for us

         USER2:         I monitor all these fuckers. I don't want any spineless weak minded people
                        to hold me back when it's time.
         CROFT:         Amen
         CROFT:         I'll die in defense ofthe constitution
         CROFT:         And God's people, I am not passive
         USER2:         I will fight, and ifnecessary die for the same. I have no plans on losing
                        this.fight.
         CROFT:         I'll be in Columbia, SC on Friday. They say they want their Governor in
                        custody
         USER2:         Then they should go that counties prosecuting allorney and place him
                        under citizens arrest officially

         CROFT:         I want to grab them all, and hold trial
         CROFT:         A People's trial
         CROFT:         I don't trust the system/or justice
         CROFT:         I know history, I'm very studied
         CROFT:         The Committees of Vigilance should direct you lo what I'm speaking




14
  Based on my training and experience, I believe that this phrase refers to an individual being
armed at a public protest, rally, or gathering, and being prepared to react violently to interactions
with law enforcement or other counter-protesters.
15
     This is a reference to an unknown person named "Jenny."

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       47.    Since rec.c iving these messages, the FBI has confirmed that a protest against the

quarantine restrictions imposed in South Carolina was scheduled to occur on May 8, 2020, at 12

p.m., at the Capitol Building located in Columbia, South Carolina.

       48.    I have also reviewed the publicly viewable portion of this account and have

observed numerous anti-government and law enforcement posts and videos. In one video posted

on or about May 3, 2020, the same day that CROFT discussed going to South Carolina with his

"sword," CROFT can be heard (but not seen) discussing the fo llowing:

      Got me thinking yo. Might need to burn some ofthese politicians out ofwhere they
      live at, you know what I mean. At the very least ... I think we should throw a fire
      and try an you know kick up a little civil disturbance out here. Delaware is what it
      is, man, come see us. We are going to get ready to start throwing some barbecues
      back here like they doing in the South tell them fuck you and your shut down - we
      ain't fucking with you. And then, get a couple people hanging out around the camp
      fire and low and behold you might end up leaving the barbecue and going burning
      out a couple politicians, man, I'd be down for that yo. You know what I mean, you
      gotta start at the back doors hit the front doors and make sure they jump out the
      windows - grab them - hold a trial. You know what I mean. Because ifyou ain 't
      going to get them at the Capitol with the police standing in front ofthem, might as
      well burn them out, you know, burn them sons ofbitches out.

       49.    On or about May 3, 2020, he also posted the following image:

                  •    Gordon Croft
                  . , May 3 ot ,o.38 AM , ,




                           The lock up your Governor
                           challenge. Which of the
                       beautlful colonies Is going to be
                         the first to snatch a criminal
                                          bastard?!?!




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        50.        On or about May 8, 2020, in accordance with Facebook's policy prohibiting

 certain speech or actions, I learned that Facebook closed CROFT's Facebook User ID

 100050894377140 account.

     D. Facebook Account # 100051435001791

       51.        The FBI learned that CROFT had opened a new public Facebook Account

associated with the username "Last Croft." The public images and videos posted on this account

were consistent with those posted on CROFT's prior accounts.

       52.        On or about July l 0, 2020, the FBI obtained a federal search warrant authorizing

the search of the "Last Croft" Facebook Account with Facebook User ID 100051435001791. 16

       53.        Many of the posts on this account reflected the desire to harm government figures,

examples of which are below:

              •   On or about May 14, 2020 CROFT posted an image of Donald Trump with the
                  status: "True colors shining through, wanna hang this mf'er too!!!%"

              •   On or about May l 5, 2020, CROFT posted: "/ say we hang everything currently
                  governing us, they 're all guilty!!!% And what a deterrent, Rope! I!% Later that
                                                                                          11




                  day he wrote: "Seems like criminal politicians are goin got start getting hung like
                  drapes, per public popular opinion!!!%"

             •    On or about May 17, 2020, CROFT posted an image of Hillary Clinton with the
                  caption: "Does this bloatedpiece ofshit know that 95% ofAmericans want to watch
                  her hang? " In separate posts he wrote: "Hillary Clinton, your neuse [sic} for war
                  crimes against humanity, awaits! I!%" and "Please don't get me twisted, I want to
                  hang then all, not 1, or a picked JO, all of them. They all victimize God's
                  People!!!%"

             •    On or about May 25, 2020, CROFT posted: "Which Governor is going to end up
                  dragged off, and hung for treason first? It 's really a spin the bottle match at this




16
  The search warrant is U.S. District of Delaware, Magistrate Case No. 20-166M-SRF, and is
incorporated by reference herein.

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            point, and I'm sure a few Mayors are in the running ! !!% God bless the
            Constitutional Republic!!!%. " The post included an image of a noose.

        •   On or about May 29, 2020, CROFT posted a video of himself where he stated: "/
            don't play part in that stupid ass political mafia shit that you dumbasses wash your
            heads in. I don 't do any of that. That 's gay to me. I want to hang all them
            motherfuckers, all of them. There is not one motherfucker serving in this bullshit
            government that I don 't want to take, stick to a motherfucking tree, and dangle until
                                                             11
            they ass tongue hang out their mouth.

        •   On or about June 5, 2020, CROFT posted: "Fuck Trump, Obama, Bush, and
                                                                  11
            Clinton. Ya '// should've been hanging mf'ers.

        •   On or about June 20, 2020, CROFT posted the image below, writing "[t]he entire
            sitting government, is guilty of initiating the self destruct sequence. This is an
                                                    11
            outrage, and will be answered!!!%            :




                                         Hong
                                        Obama
                                     Both Clinton's
                                       lhon Omar
                                         A .o .c
                                       Dl'mocrots
                                        Liberals
                                        Muslims
                                     Hong all anti
                                      Americans




        •   On or about June 24, 2020 CROFT posted: "I'm for hanging Democrats,
            Republicans, and Libertarians. I believe the rest would enjoy the Constitutional
                          11
            Republic!!!%

  54.       CROFT stopped using this Facebook Account on or about July 10, 2020.




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     E. The TARGET ACCOUNT

            55.     The FBI learned that CROFT opened an additional Facebook Account, the

 TARGET ACCOUNT, on or about September 2, 2020. The user name for this account was

 "Barry Croft." The account was shut down on or about September 26, 2020.

            56.     Law enforcement viewed the publicly available information on this account

 before it was shut down. 17 The images on the TARGET ACCOUNT were consistent with those

posted by CROFT previously on other accounts. The TARGET ACCOUNT included public

 interactions between CROFT and FOX, a co-conspirator. CROFT additionally referenced

Michigan several times on the TARGET ACCOUNT.

            57.     Like his previous Facebook accounts, there is probable cause to believe that the

non-public data on the TARGET ACCOUNT will contain evidence of criminal acts.

     III.         INFORMATION ABOUT FACEBOOK

            58.     Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish

accounts with Facebook and users can then use their accounts to share written news,

photographs, videos, and other infonnation with other Facebook users, and sometimes with the

general public.

        59.         Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include

the user' s full name, birth date, gender, contact e-mail addresses, Facebook passwords, physical




17
  The public information was not memorialized formally in any way. The information in this
paragraph is based on the recollections of law enforcement officers.

                                                   25
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 address (including city, state, and zip code), telephone numbers, screen names, websites, and

other personal identifiers. Facebook also assigns a user identification number to each account.

        60.     Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group

identification number to each group. A Facebook user can also connect directly with individual

Facebook users by sending each user a "Friend Request." If the recipient of a "Friend Request"

accepts the request, then the two users will become " Friends" for purposes of Facebook and can

exchange communications or view information about each other. Each Facebook user's account

includes a list of that user's "Friends" and a "News Feed," which highlights information about

the user's "Friends," such as profile changes, upcoming events, and birthdays.

        61.    Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create "lists" of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Face book.

       62.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post "status" updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items

available elsewhere on the Internet. Facebook users can also post information about upcoming

"events," such as social occasions, by listing the event's time, location, host, and guest list. In

addition, Facebook users can " check in" to particular locations or add their geographic locations

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to their Facebook posts, thereby revealing their geographic locations at particular dates and

times. A particular user's profil e page also includes a "Wall," which is a space where the user

and his or her "Friends" can post messages, attachments, and links that will typically be visible

to anyone who can view the user's profile.

       63.     Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It

also provides users the ability to "tag" (i.e., label) other Facebook users in a photo or video.

When a user is tagged, in a photo or video, he or she receives a notification of the tag and a link

to see the photo or video. For Facebook's purposes, the photos and videos associated with a

user's account will include all photos and videos uploaded by that user that have not been

deleted, as well as all photos and videos uploaded by any user that have that user tagged in them.

       64.     Facebook users can exchange private messages on Facebook with other users.

Those messages are stored by Facebook, unless deleted by the user. Facebook users can also

post comments on the Facebook profiles of other users or on their own profiles; such comments

are typically associated with a specific posting or item on the profile. In addition, Facebook has

a chat feature that allows users to send and receive instant messages through Facebook

Messenger. These chat communications are stored in the chat history for the account. Facebook

also has Video and Voice Calling features, and although Facebook does not record the calls

themselves, it does keep records of the date of each call.

       65.     If a Facebook user does not want to interact with another user on Facebook, the

first user can " block" the second user from seeing his or her account.

       66.     Facebook has a " like" feature that allows users to give positive feedback or

connect to particular pages. Facebook users can "like" Facebook posts or updates, as well as

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 webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

 become "fans" of particular Facebook pages.

        67.     Facebook has a search function that enables its users to search Facebook for

 keywords, usernames, or pages, among other things.

        68.     Each Facebook account has an activity log, which is a list of the user's posts and

other Facebook activities, from the inception of the account to the present. The activity log

includes stories and photos that the user has been tagged in, as well as connections made through

the account, such as "liking" a Facebook page or adding someone as a friend. The activity log is

visible to the user, but cannot be viewed by people who visit the user's Facebook page.

        69.    Facebook also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

        70.    In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications ("apps") on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about that the user's access

or use of that application may appear on the user's profile page.

       71.     Facebook also retains Internet Protocol ("IP") logs for a given User ID or IP

address. These logs may contain information about the actions taken by the User ID or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the User ID and IP address associated with the action. For example, if a user views a

Facebook profile, that user's IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       72.     Social networking providers, like Facebook, typically retain additional

information about their users' accounts, such as information about the length of service

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 (including start date), the types of service utilized, and the means and source of any payments

 associated with the service (including any credit card or bank account number). In some cases,

 Facebook users may communicate directly with Facebook about issues relating to their accounts,

such as technical problems, billing inquiries, or complaints from other users. Social networking

providers like Facebook typically retain records about such communications, including records

of contacts between the user and the provider' s support services, as well as records of any

actions taken by the provider or user as a result of the communications.

        73.    As explained herein, information stored in connection with a Facebook account

may provide crucial evidence of the "who, what, why, when, where, and how" of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Facebook user's IP log, stored electronic communications, and other data retained by Facebook,

can indicate who has used or controlled the Facebook account. This " user attribution" evidence

is analogous to the search for "indicia of occupancy" while executing a search warrant at a

residence. For example, profile contact information, private messaging logs, status updates, and

tagged photos (and the data associated with the foregoing, such as date and time) may be

evidence of who used or controlled the Facebook account at a relevant time. Further, Facebook

account activity can show how and when the account was accessed or used. For example, as

described herein, Facebook logs the Internet Protocol (IP) addresses from which users access

their accounts along with the time and date. By determining the physical location associated

with the logged IP addresses, investigators can understand the chronological and geographic

context of the account access and use relating to the crime under investigation. Such information

allows investigators to understand the geographic and chronological context of Facebook access,

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 use, and events relating to the crime under investigation. Additionally, Facebook builds geo-

 location into some of its services. Geo-location allows, for example, users to "tag" their location

in posts and Facebook "friends" to locate each other. This geographic and timeline information

may tend to either inculpate or exculpate the Facebook account owner. Last, Facebook account

activity may provide relevant insight into the Facebook account owner's state of mind as it

relates to the offense under investigation. For example, information on the Facebook account

may indicate the owner's motive and intent to commit a crime (e.g., information indicating a

plan to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort

to conceal evidence from law enforcement).

       74.     Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information concerning

subscribers and their use of Facebook, such as account access information, transaction

information, and other account information.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       75.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l )(A), by using the warrant

to require Facebook to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the infonnation described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.




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                                         CONCLUSION

        76.    Based on the information set forth above, law enforcement believes evidence of

the federal violations described in this affidavit are likely to be found in the TARGET

ACCOUNT. Accordingly, I request that the Court issue the proposed search warrant.

        77.    Pursuant to I 8 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant

by serving it on Facebook. Because the warrant will be served on Facebook, who will then

compile the requested records at a time convenient to it, reasonable cause exists to permit the

execution of the requested warrant at any time in the day or night.

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       78.     This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &

(c)(l)(A). Specifically, the Court is "a district court of the United States ... that-has

jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).



                                                  Respectfully submitted,



                                                  i.ii::!:fo
                                                  Special Agent
                                                  Federal Bureau of Investigation


Sworn to and subscribed this 44 day of October 2020.




Honorable Mary Pat Thynge
Chief United States Magistrate Judge

Sworn to me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1




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                                     ATTACHMENT A

                                  Property to Be Searched


       This warrant applies to information associated with the FACEBOOK USER ID

100054661972683 that is stored at premises owned, maintained, controlled, or operated by

Facebook Inc., a company headquartered in Menlo Park, California.
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                                     ATTACHMENT B
                                Particular Things to be Seized

I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook Inc. ("Facebook"), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each User ID listed in Attachment A:

       (a)    All contact and personal identifying information, including full name, user

              identification number, birth date, gender, contact e-mail addresses, physical address

              (including city, state, and zip code), telephone numbers, screen names, websites,

              and other personal identifiers.

      (b)     All activity logs for the account and all other documents showing the user' s posts

              and other Facebook activities September 1, 2020 to September 30, 2020.

      (c)     All photos and videos uploaded by that User ID and all photos and videos uploaded

              by any user that have that user tagged in them September 1, 2020 to September

              30, 2020, including Exchangeable Image File ("EXIF") data and any other metadata

             associated with those photos and videos;

      (d)     All profile information; News Feed information; status updates; videos,

             photographs, articles, and other items; Notes; Wall postings; friend lists, including

             the friends' Facebook user identification numbers; groups and networks of which

             the user is a member, including the groups' Facebook group identification numbers;
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        future and past event postings; rejected "Friend" requests; comments; gifts; pokes;

        tags; and information about the user's access and use of Facebook applications;

  (e)   All records or other information regarding the devices and internet browsers

        associated with, or used in connection with, that User ID, including the hardware

        model, operating system version, unique device identifiers, mobile network

        information, and user agent string;

  (f)   All other records and contents of communications and messages made or received

        by the user September 1, 2020 to September 30, 2020, including all Messenger

        activity, private messages, chat history, video and voice calling history, and

        pending "Friend" requests;

  (g)   All "check ins" and other location information;

 (h)    All IP logs, including all records of the IP addresses that logged into the account;

 (i)    All records of the account's usage of the "Like" feature, including all Facebook

        posts and all non-Facebook webpages and content that the user has "liked";

 G)     All infonnation about the Facebook pages that the account is or was a "fan" of;

 (k)    All past and present lists of friends created by the account;

 (I)    All records of Facebook searches performed by the account September 1, 2020 to

        September 30, 2020;

 (m)    All information about the user' s access and use ofFacebook Marketplace;

 (n)    The types of service utilized by the user;

 (o)    The length of service (including start date) and the means and source of any

        payments associated with the service (including any credit card or bank account

        number);

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       (p)     All pnvacy settings and other account settings, including privacy settings for

               individual Facebook posts and activities, and all records showing which Facebook

               users have been blocked by the account;

       (q)     All records pertaining to communications between Facebook and any person

               regarding the user or the user's Facebook account, including contacts with support

               services and records of actions taken.

       Facebook is hereby ordered to disclose the above information to the government within 14

days of issuance of this warrant.




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II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C. § 1201 (c) (conspiracy to kidnap), involving Barry

Croft Jr. from September 1, 2020 to September 30, 2020, including for each User ID identified

on Attachment A, information pertaining to the following matters:

       (a)    Evidence that Croft conspired or attempted to conspire with any other persons to

              commit any of the crime(s) under investigation;

       (b)    Evidence that Croft solicited any person(s) or groups of persons to commit violent

              acts, including, but not limited to, violent acts against any and all federal, state, and

              local law enforcement officials, and/or federal, state, and local government

              officials;

       (c)    Evidence that demonstrates Croft intended or intends to communicate threats of

              violence or intimidation against any individuals, including but limited to, any and

              all federal, state, and local law enforcement officials, and/or federal, state, and local

              government officials;

       (d)    Evidence indicating Croft intends, plans, or seeks to kidnap any individuals,

              including those individuals referenced in the affidavit;

       (e)    Evidence indicating Croft intends, plans, seeks to commit violent acts against any

              and all federal, state, and local law enforcement officials, and/or federal, state, and

              local government officials, and any and all government agencies, including any

              federal, state, and/or local property;




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       (f)     Evidence indicating how and when the Facebook account was accessed or used to

               determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account owner;

       (g)     Evidence indicating that Croft made any preparations for or took steps in

               preparation for the crime(s) under investigation;

       (h)     Evidence indicating the Facebook account owner' s state of mind as it relates to the

               crime(s) under investigation;

       (i)     The identity of the person(s) who created or used the User ID, including records

               that help reveal the whereabouts of such person(s).

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant.     The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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            CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
          PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)



        I , - - - - - - - - - - - - - -~ attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by Facebook, and my title is
_ _ _ _ _ _ _ _ _ _ _ _ _. I am qualified to authenticate the records attached hereto
because I am familiar with how the records were created, managed, stored, and retrieved. I state
that the records attached hereto are true duplicates of the original records in the custody of
Facebook. The attached records consist of _ _ _ _ _ _ (pages/CDs/megabytes). I further
state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from infonnation transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted
business activity of Facebook, and they were made by Facebook as a regular practice; and
        b.     such records were generated by Facebook' s electronic process or system that
produces an accurate result, to wit:
                I.      the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of Facebook in a manner to ensure that they are true duplicates of the
original records; and
               2.       the process or system is regularly verified by Facebook, and at all times
pertinent, to the records certified here that the process and system functioned properly and
normally.

        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of
the Federal Rules of Evidence.




 Date                                  Signature
